           Case: 1:21-cv-00366 Document #: 83-17 Filed: 05/25/23 Page 1 of 3 PageID #:1083


Morrell, Benjamin S.

From:                            Morrell, Benjamin S.
Sent:                            Monday, May 22, 2023 6:23 PM
To:                              Megan O'Malley; Alex Raynor
Cc:                              Fisher, Ian H.
Subject:                         RE: Lynch v. CCC - amended privilege log



Megan,

We agree that the parties are now at issue under Local Rule 37.2 regarding the revised list of privilege log
entries Alex sent to us earlier this afternoon. We also agree we will need to provide Defendant’s portion
of the joint brief. But, your proposed deadline of noon tomorrow is neither realistic nor fair.

At nearly the close of business on Friday afternoon, we first received a 9-page document containing
Plaintiffs’ side of the draft joint motion with your request that we provide Defendant’s portion of the brief
in less than two business days. And, we received a revised draft of Plaintiffs’ side of the motion just a
couple hours ago (in response to the amended privilege log we sent to you late Friday). It is unreasonable
to expect us to draft a response before the parties were fully at issue and while you were still revising
Plaintiffs’ draft of the motion. And, fair or not, we need more time to do so than the 21 hours you have
proposed.

We will plan to send over our portion of the joint motion on Thursday. We think this is a reasonable
amount of time to respond to Plaintiffs’ arguments.




             Benjamin S. Morrell, Attorney
             Employment & Labor Relations
             Direct: 312.840.4489 | Office Ext: 34489
             Taft Office: Chicago


From: Megan O'Malley <momalley@ompc-law.com>
Sent: Monday, May 22, 2023 2:44 PM
To: Alex Raynor <alex.raynor@ompc-law.com>; Morrell, Benjamin S. <BMorrell@taftlaw.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Attached is the updated version in both Word (clean) and a pdf version that shows the tracked changes for
your convenience. You will see that the very few substantive changes are almost entirely within one
paragraph and in the footnote on page 6. Please insert Defendant's response positions into this version.

Thank you,

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
                                                          1
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phone: 312.697.1382
facsimile: 312.697.1384

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312-697-1382.



From: Alex Raynor <alex.raynor@ompc-law.com>
Sent: Monday, May 22, 2023 12:29 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Megan O'Malley <momalley@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Counsel,

Thank you for sending us your amended log. As this was sent after hours on Friday, we have just now had an
opportunity to review the entries we reference in our motion to compel. Based on your changes, we will agree
to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to send you updated language for
the background portion of our motion to account for this change. That said, we will continue to move on
Entries 95-98, 105, 107-110, 116, 123, and 183 as we do not believe these are privileged, even with your
amendments. Since there are no significant changes to the motion, we still expect to receive your portion by
noon tomorrow so that we can get this before the court as soon as possible.

Best,
Alex

From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Friday, May 19, 2023 6:11 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Lynch v. CCC - amended privilege log

Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


                 Benjamin S. Morrell
                 Attorney
                 BMorrell@taftlaw.com
                 Dir: 312.840.4489
                 Tel: 312.527.4000 | Fax: 312.527.4011
                 111 E. Wacker Drive, Suite 2600
                 Chicago, Illinois 60601-4208

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